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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                      )
SECURITIES AND EXCHANGE COMMISSION,   )
                                      )
        Plaintiff,                    )
                                      )
     v.                               )
                                      )
GREGORY LEMELSON and LEMELSON CAPITAL )
MANAGEMENT, LLC,                      )                     Civil Action No. 1:18-cv-11926-PBS
                                      )
        Defendants,                   )
                                      )
  and                                 )
                                      )
THE AMVONA FUND, LP,                  )
                                      )
        Relief Defendant              )
                                      )

                  AFFIDAVIT OF DEFENDANT FR. EMMANUEL LEMELSON

       I, Fr. Emmanuel Lemelson, do hereby depose and state as follows:

       1.      I am a Defendant in the above-captioned case (under the name of Gregory

Lemelson, which is my given name and which I went by prior to being ordained as a Greek

Orthodox Priest in July 2011).

       2.      I submit this Affidavit concerning my status as a Greek Orthodox Priest (and

relevant related issues) pursuant to the Court’s instruction during its March 18, 2020 hearing. I

make this Affidavit based on personal knowledge except where specifically stated.

A.     Overview

       3.      As set forth in more detail below and in answering the Court’s questions and

stated concerns posed during the March 18, 2020 hearing:
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                 a. I am a Greek Orthodox Priest, having, among other things, (i) graduated
                    with a Master of Divinity Degree from the Holy Cross Greek Orthodox
                    School of Theology in Brookline, Massachusetts in 2003, (ii) been ordained
                    as a Greek Orthodox Priest by the (now) Greek Orthodox Archbishop of
                    America at the Chapel at Holy Cross Greek Orthodox School of Theology in
                    July 2011; and (iii) served as a Greek Orthodox Priest in many Greek
                    Orthodox churches both in the United States and abroad over the past eight-
                    plus years.

                 b. Fr. Ted Barbas made knowingly false and defamatory statements about my
                    religious affiliation to the SEC, which followed similarly false and
                    defamatory statements he made about me over a four- and one-half-year
                    period to both the media and others within the Greek Orthodox Church.

                 c. My counsel’s demand letter to Fr. Barbas contained nine factually accurate
                    statements about my religious affiliation, all of which I firmly believe were
                    known to Fr. Barbas, for the purpose of seeking to end Fr. Barbas’ four-
                    and one-half-year campaign of spreading false and defamatory statements
                    about me, while trying to avoid litigation.

B.      My Background as it Concerns My Greek Orthodox Priesthood

        4.       I have spent the bulk of my life in service of the Greek Orthodox Church—both

before and after I became ordained as a Greek Orthodox Priest in July 2011.1 By way of

relevant background to help answer the questions the Court posed on March 18, 2020:

        5.       I am half-Greek on my mother’s side. My mother’s uncle was the Greek

Orthodox Archbishop of Crete, Greece’s largest island. From ages six to twenty-two, I

alternated living between Greece and the United States.

        6.       In or about 1980, I was baptized in a Greek Orthodox Church in Phoenix,

Arizona.

        7.       From 1992-1999, I was a parishioner at St. Demetrios Greek Orthodox Church in

Seattle, Washington.



1
  My work for the Greek Orthodox Church has been voluntarily. I have never asked for or been offered a salary
from the Church. Conversely, my contributions to the Greek Orthodox Church between 1999 and 2019 exceeded
$1,000,000.


                                                       2
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       8.      In 1999, I graduated from Seattle University, a Jesuit school, with a Bachelor of

Arts in Theology and Religious Studies.

       9.      In that same year, I moved to Massachusetts and entered the Greek Orthodox

Seminary; specifically, Holy Cross Greek Orthodox School of Theology in Brookline,

Massachusetts, which is under the direct jurisdiction of the Greek Orthodox Archdiocese of

America. In order to enter the Greek Orthodox Seminary, I needed to satisfy (which I did) the

following requirements: (i) provide a copy of my baptismal certificate from the Greek Orthodox

Church; (ii) provide a letter of recommendation from the parish priest at the Greek Orthodox

Church which I attended (in this case, Fr. John Angelis of St. Demetrios in Seattle); and (iii)

obtain the blessing of the Greek Orthodox Bishop of my diocese (in this case, Metropolitan (a

title given to a senior bishop) Anthony, the primate (presiding bishop) of the Greek Orthodox

Metropolis of San Francisco).

       10.     In 2000, I met my future wife, Anjeza, who was a student at Hellenic College in

Brookline, Massachusetts. In 2002, Anjeza and I became engaged. At the direction of Fr.

Barbas, as is required of all couples to be married in the Greek Orthodox Metropolis of Boston,

Anjeza and I participated in pre-marriage counseling. Fr. Barbas directed us to the program and

provided all the materials (which he reviewed with us personally), and which cleared the way for

us to get married in the Greek Orthodox Church, and more specifically, the Greek Orthodox

Metropolis of Boston. Metropolitan Methodios, the primate of the Greek Orthodox Metropolis

of Boston and currently Fr. Barbas’ direct superior, signed the Certificate of Attendance. A true

and accurate copy of the Certificate of Attendance is attached hereto as Exhibit A.

       11.     Between 2002-2004, I was assigned to the Greek Orthodox Church of Taxiarches

in Watertown, Massachusetts as part of my “field study” in the Greek Orthodox Seminary. The



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presiding priest at the Greek Orthodox Church of Taxiarches was Fr. Emmanuel Metaxas. The

assisting priest was Fr. Barbas. I served as a layperson, and occasionally chanter (one

who chants responses and hymns in the services of the church), for nearly three years with both

Fr. Metaxas and Fr. Barbas.

       12.     Meanwhile, in 2003, I completed and received a Master of Divinity Degree from

the Holy Cross Greek Orthodox School of Theology. The Archbishop of the Greek Orthodox

Archdiocese of America signed my diploma. The President and Dean of the seminary, both

Greek Orthodox Priests, also signed the diploma. A true and accurate copy of my diploma is

attached hereto as Exhibit B.

       13.     In 2004, Metropolitan Methodios, the primate of the Greek Orthodox Metropolis

of Boston, during an in-person meeting, invited me to “submit [my] dossier” for ordination.

Believing I was not yet ready, I respectfully declined.

       14.     On July 4, 2004, Anjeza and I were married at the chapel of Holy Cross, at the

Greek Orthodox Seminary, under the direct jurisdiction of the Greek Orthodox Archdiocese of

America and in the geographic region overseen by the Greek Orthodox Metropolis of Boston.

Fr. Metaxas, a Greek Orthodox Priest and Fr. Barbas’ direct superior at the time, as well as

Bishop Ilia Katre, presided over our wedding. Our marriage certificate (a true and attached copy

of which is attached hereto as Exhibit C) was signed by Metropolitan Methodios.

       15.     All four of our children were baptized in Greek Orthodox Churches (specifically

in churches of the Greek Orthodox Metropolis of Boston), by Greek Orthodox Clergy, with

Greek Orthodox godparents. Accordingly, all four children’s baptismal certificates indicate that

they are members of the Greek Orthodox Church, via their canonical baptisms.




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           16.      From 2004-2011, I served as a layperson (and sometimes chanter) in the altar at

both St. Nektarios Greek Orthodox Church in Roslindale, Massachusetts and St. Anargyroi

Greek Orthodox Church in Marlborough, Massachusetts. During this time, I served alongside

Fr. Barbas and Metropolitan Methodios on several occasions.

           17.      In 2011, I received a message that a hierarch of the Ecumenical Patriarchate, the

highest ruling body within the Greek Orthodox Church (among other Orthodox Churches)2

wished to come to Boston to ordain me. The Greek Orthodox Archdiocese, which includes the

Greek Orthodox Metropolis of Boston, is under the direct jurisdiction of the Ecumenical

Patriarchate.

           18.      In July 2011, I was ordained as a Greek Orthodox Deacon and then, the next day,

as a Greek Orthodox Priest, at the Chapel at Holy Cross Greek Orthodox School of Theology.3

My ordination took place with the express consent of both the (then) Greek Orthodox

Archbishop of America, Demetrios, as well as Metropolitan Methodios of the Greek Orthodox

Metropolis of Boston. I was ordained by Metropolitan Elpidophoros Lambriniadis, the (now)

Greek Orthodox Archbishop of America. Many Greek Orthodox Priests, deacons and

seminarians of the Metropolis of Boston attended the ordination. A true and accurate photograph

from my ordination as a Greek Orthodox Priest is attached hereto as Exhibit D.4

           19.      Simultaneous with my ordination, Archbishop Lambriniadis assigned me

temporarily to the Albanian Orthodox diocese, pending my transfer to the Greek Orthodox



2
 Historically, the term "Greek Orthodox" has been used to describe all Eastern Orthodox Churches in general, since
"Greek" in "Greek Orthodox" can refer to the heritage of the Byzantine Empire. See
https://en.wikipedia.org/wiki/Greek_Orthodox_Church. The administrative Structure of the Ecumenical Patriarchate
can be found here: https://www.patriarchate.org/administrative-structure-of-the-ecumenical-patriarchate.
3
    One must become a Deacon before becoming a Priest in the Greek Orthodox Church.
4
    I can provide additional photographs of many of the events described herein to the Court upon request.

                                                           5
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Archdiocese of Switzerland, plans for which were already underway. Like the Greek Orthodox

Church in America, the Albanian Orthodox diocese is under the direct jurisdiction of the

Ecumenical Patriarchate. 5 See n.1, above. Accordingly, my letter of ordination appears on the

letterhead of Albanian Orthodox Archdiocese of America. Nonetheless, it is signed by the Greek

Orthodox Archbishop of America, who, as set forth above, ordained me. A true and accurate

copy of my letter of ordination is attached hereto as Exhibit E.6

           20.      The letter of “witness” to my ordination, a critical document required for

ordination of a Greek Orthodox Priest by the Greek Orthodox Church, is signed by Fr. Vassilios

Bebis, a Greek Orthodox Priest of the Greek Orthodox Metropolis of Boston.7

           21.      Following my ordinations as a Greek Orthodox Deacon and Priest, I initially

spent time continuing to train as a Greek Orthodox Priest at St. Nektarios Greek Orthodox

Church in Roslindale, Massachusetts. I then spent approximately two months as the temporary

priest at the Albanian Orthodox church in Boston. After serving there for two months, the

Albanian Diocese obtained a visa for a full-time Albanian priest (which the Albanian Diocese

had been working on for years), and I returned to serving at St. Nektarios Greek Orthodox

Church, a parish of the Greek Orthodox Metropolis of Boston, where I served for nearly two

years, including concelebrating alongside Metropolitan Methodios. Prior to my arrival at the

Albanian church, the prior two priests who served there were Greek Orthodox Priests of the

Metropolis of Boston. Fr. Barbas was and is the point of contact to locate Greek Orthodox




5
  I had asked that Bishop Ilia Katre, the primate of the Albanian diocese, perform at least one of my ordinations, this
request was refused by the current Greek Orthodox Archbishop of America.
6
    At the time of my ordination as a Greek Orthodox Priest, I had never set foot in an Albanian Orthodox church.
7
I have a video recording of Fr. Bebis reading the letter at my ordination, which I can provide to the Court should it
wish to view it.

                                                           6
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Priests to fill in at the Albanian church (the Albanian priest mentioned above lasted there only

for a short time).

           22.      In April 2013, at the request of the Greek Orthodox Metropolitan of Hong Kong, I

served as a Greek Orthodox Priest at the Greek Orthodox Church in Hong Kong for a brief

period, including during Holy Week and Easter.

           23.      In November 2013, I received from the Greek Orthodox Metropolitan of

Switzerland a letter of assignment to the Greek Orthodox Parish of the Epiphany in Lugano,

Switzerland. A true and accurate copy of the letter of assignment is attached hereto as Exhibit F.

The Greek Orthodox Archbishop of Switzerland signed the letter of assignment. While in

Switzerland, I served as the presiding priest at the Greek Orthodox Parish in Lugano.

           24.      In April 2014, after I located a full-time priest for the Greek Orthodox Church in

Lugano, I returned to the United States to continue my service as a priest to the Greek Orthodox

Church in this country. As set forth in detail below, immediately upon my return, Fr. Barbas

began requesting that I serve as a Greek Orthodox Priest in various churches of the Greek

Orthodox Metropolis of Boston.8

           25.      In June 2015, Metropolitan Methodios asked the Greek Orthodox Archbishop of

America if I would accept a position as a full-time priest at a parish of the Greek Orthodox

Metropolis of Boston.9 A true and accurate copy of my communication with the Archbishop

regarding this request is attached hereto as Exhibit G. I immediately, but respectfully, declined.

See Exhibit G.




8
    Contrary to statements Fr. Barbas has made, I have never asked to serve the Metropolis of Boston.
9
 As Metropolitan Methodios’ Chancellor, I am confident Fr. Barbas knew of this request and my corresponding
declination.


                                                           7
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C.     Fr. Barbas’ Knowingly False and Defamatory Statements About My Religious
       Affiliation.

       a. Fr. Barbas Made Knowingly False and Defamatory Statements About Me to the
          SEC.

       26.     During my deposition, the SEC attorney asked me a number of (seemingly

irrelevant) questions about my religious affiliation. I later learned this was due, at least in large

part, to false and defamatory statements Fr. Barbas had made to the SEC about me. Based on

documentation the SEC provided to my counsel in this case, Fr. Barbas initially told the SEC (1)

that I was not, and never had been, affiliated with the Greek Orthodox Metropolis of Boston and

that the Metropolis had no records relating or referring to me; and (2) I had applied to the Greek

Orthodox Metropolis of Boston to be ordained but that application was declined. A true and

accurate copy the email communication between Fr. Barbas and the SEC demonstrating the

above is attached hereto as Exhibit H.

       27.     When the SEC later pressed Fr. Barbas for confirmation in writing as to the above

two points, Fr. Barbas claimed he never said the first to the SEC (and went so far as to claim the

SEC’s attorney’s statement to the contrary was “misleading”). See Exhibit H.

       28.     Fr. Barbas did, however, continue to falsely maintain that I had applied for

ordination by the Metropolis of Boston and been denied, notwithstanding that, as he knew, the

exact opposite was true. See id.

       29.     Contrary to the statements the SEC claims Fr. Barbas made to it (that I have never

had any “affiliation” with the Greek Orthodox Metropolis of Boston and that the Metropolis has

no records relating to me) during the period of April 2014 to October 2015 alone, Fr. Barbas

repeatedly requested—and I faithfully complied whenever possible—that I serve (as a Greek

Orthodox Priest) at various parishes of the Greek Orthodox Metropolis of Boston. While not



                                                  8
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exhaustive, a sample of my email and text messages from Fr. Barbas during this time

demonstrates the following:10

                    a. On April 9, 2014, Fr. Barbas requested that I serve both the Greek Orthodox
                       Church in New London, Connecticut and the Greek Orthodox Church in
                       Springfield, Massachusetts.

                    b. On April 19, 2014, Fr. Barbas requested that I serve the Greek Orthodox
                       Church in Roslindale, Massachusetts.

                    c. On April 26, 2014, Fr. Barbas requested that I serve the Greek Orthodox
                       Church in Andover, Massachusetts.

                    d. On May 30, 2014, Fr. Barbas requested that I serve the Greek Orthodox
                       Church in Lowell, Massachusetts.

                    e. Later on May 30, 2014, Fr. Barbas requested that I instead serve the Greek
                       Orthodox Church in Webster, Massachusetts.

                    f. On July 4, 2014, Fr. Barbas requested that I serve the Greek Orthodox Church
                       in Chicopee, Massachusetts.

                    g. On July 9, 2014, Fr. Barbas requested that I serve the Greek Orthodox Church
                       in Lexington, Massachusetts.

                    h. On July 14, 2014, Fr. Barbas requested that I serve the Greek Orthodox
                       Church in Keene, New Hampshire.

                    i. On July 15, 2014, Fr. Barbas requested that I serve the Greek Orthodox
                       Church in Newburyport, Massachusetts.

                    j. On July 24, 2014, Fr. Barbas requested that I serve the Greek Orthodox
                       Church in Newburyport, Massachusetts.

                    k. On August 22, 2014, Fr. Barbas requested that I serve the Greek Orthodox
                       Church in Norwich, Connecticut.

                    l. On September 5, 2014, Fr. Barbas requested that I serve the Greek Orthodox
                       Church in Holyoke, Massachusetts.

                    m. On September 19, 2014, Fr. Barbas requested that I serve the Greek Orthodox
                       Church in Portsmouth, New Hampshire.




10
     True and accurate copies of the emails and text messages are attached hereto as Exhibit I.

                                                            9
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     n. On September 20, 2014, Fr. Barbas requested that I serve the Greek Orthodox
        Church in Weston, Massachusetts.

     o. On October 3, 2014, Fr. Barbas requested that I serve the Greek Orthodox
        Church in Newport, New Hampshire.

     p. On October 3, 2014, Fr. Barbas requested that I serve the Greek Orthodox
        Church in Clinton, Massachusetts.

     q. On January 3, 2015, Fr. Barbas requested that I serve the Greek Orthodox
        Church in Lexington, Massachusetts.

     r. On January 16, 2015, Fr. Barbas requested that I serve the Greek Orthodox
        Church in Manchester, New Hampshire.

     s. On January 17, 2015, Fr. Barbas requested that I serve the Greek Orthodox
        Church in Newport, Rhode Island.

     t. On January 19, 2015, Fr. Barbas requested that I serve the Greek Orthodox
        Church in Danielson, Connecticut for the following four Sundays.

     u. On February 26, 2015, Fr. Barbas requested that I serve the Greek Orthodox
        Church in Southbridge, Massachusetts.

     v. On February 27, 2015, Fr. Barbas requested that I serve the Greek Orthodox
        Church in Manchester, New Hampshire.

     w. On March 5, 2015, Fr. Barbas requested that I serve the Greek Orthodox
        Church in Southbridge, Massachusetts.

     x. On March 12, 2015, Fr. Barbas requested that I serve the Greek Orthodox
        Church in Manchester, New Hampshire.

     y. On March 15, 2015, Fr. Barbas requested that I serve the Greek Orthodox
        Church in Manchester, New Hampshire.

     z. On April 3, 2015, Fr. Barbas requested that I serve the Greek Orthodox
        Church in Somersworth, New Hampshire.

     aa. On April 16, 2015, Fr. Barbas requested that I serve the Greek Orthodox
         Church in Concord, New Hampshire.

     bb. On April 23, 2015, Fr. Barbas requested that I serve at either the Greek
         Orthodox Church in Somersworth, New Hampshire or the Greek Orthodox
         Church in Concord, New Hampshire.

     cc. On May 1, 2015, Fr. Barbas requested that I serve the Greek Orthodox Church
         in Ipswich, Massachusetts.

                                    10
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     dd. On May 2, 2015, Fr. Barbas requested that I serve the Greek Orthodox Church
         in Keene, New Hampshire.

     ee. On May 16, 2015, Fr. Barbas requested that I serve the Greek Orthodox
         Church in Keene, New Hampshire.

     ff. On May 27, 2015, Fr. Barbas requested that I serve the Greek Orthodox
         Church in Keene, New Hampshire.

     gg. On June 6, 2015, Fr. Barbas requested that I serve the Greek Orthodox Church
         in Keene, New Hampshire.

     hh. On June 13, 2015, Fr. Barbas requested that I serve the Greek Orthodox
         Church in Keene, New Hampshire.

     ii.   On June 20, 2015, Fr. Barbas requested that I serve the Greek Orthodox
           Church in Keene, New Hampshire.

     jj. On July 3, 2015, Fr. Barbas requested that I serve the Greek Orthodox Church
         in Keene, New Hampshire, for the following four Sundays.

     kk. On July 14, 2015, Fr. Barbas requested that I serve the Greek Orthodox
         Church in Keene, New Hampshire.

     ll. On July 17, 2015, Fr. Barbas requested that I serve the Greek Orthodox
         Church in Newport, Rhode Island.

     mm. On July 23, 2015, Fr. Barbas requested that I serve the Greek Orthodox
       Church in Keene, New Hampshire.

     nn. On July 24, 2015, Fr. Barbas requested that I serve the Greek Orthodox
         Church in Newburyport, Massachusetts.

     oo. On July 30, 2015, Fr. Barbas requested that I serve the Greek Orthodox
         Church in Laconia, New Hampshire. I was unable to do so as I was already
         scheduled to serve the Greek Orthodox Church in Keene, New Hampshire on
         the date requested.

     pp. On August 9, 2015, Fr. Barbas requested that I serve the Greek Orthodox
         Church in Keene, New Hampshire.

     qq. On August 14, 2015, Fr. Barbas requested that I serve the Greek Orthodox
         Church in Keene, New Hampshire.

     rr. On August 21, 2015, Fr. Barbas requested that I serve the Greek Orthodox
         Church in Keene, New Hampshire.




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               ss. On August 28, 2015, Fr. Barbas requested that I serve the Greek Orthodox
                   Church in Keene, New Hampshire.

               tt. On September 3, 2015, Fr. Barbas requested that I serve the Greek Orthodox
                   Church in Keene, New Hampshire.

               uu. On September 19, 2015, Fr. Barbas requested that I serve the Greek
                   Orthodox Church in Keene, New Hampshire.

               vv. On September 26, 2015, Fr. Barbas requested that I serve the Greek Orthodox
                   Church in Keene, New Hampshire.

               ww. On October 3, 2015, Fr. Barbas requested that I serve the Greek Orthodox
                   Church in Keene, New Hampshire.

       30.     In addition to the above, I have numerous voicemail messages from Fr. Barbas

during this time frame asking me to serve at various Greek Orthodox Churches belonging to the

Greek Orthodox Metropolis of Boston. I would be happy to provide these to the Court upon

request.

       31.     Also during this time frame, on behalf of the Greek Orthodox Metropolis of

Boston, Fr. Barbas invited me to multiple events for Greek Orthodox clergy. For example, on

February 27, 2015, he invited me to the Clergy Lenten Retreat, and on April 15, 2015, he invited

me to a Clergy Easter Luncheon. True and accurate copies of these written invitations are

attached hereto as Exhibit J. I respectfully declined both requests. Fr. Barbas also invited my

family and me to stay at the Greek Orthodox camp in New Hampshire, an invitation I also

respectfully declined.

       32.     Moreover, in but one such example, and in direct contradiction to Fr. Barbas’

statements to the SEC, on April 9, 2015, I received from Fr. Barbas a copy of Metropolitan

Methodios’ Paschal Reflection as part of a listserv going to all clergy of the Greek Orthodox

Metropolis of Boston and expressly addressed “To the Reverend Clergy of the Metropolis of

Boston.” A true and accurate copy of this email is attached hereto as Exhibit K.


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       b.         Fr. Barbas Made False Statements to the Wall Street Journal About Me.

            33.      Fr. Barbas’ false and defamatory statements about my religious affiliation to the

SEC in 2019 were strikingly similar to previous false and defamatory statements he made about

me beginning in 2015.

            34.      In approximately June 2015, a reporter from the Wall Street Journal contacted me

and asked if he could conduct research for an article that he planned to write about me.

            35.      From June 2015 until October 21, 2015, my communications with the Wall Street

Journal reporter were all positive.

            36.      On October 21, 2015, the reporter called me, and his tone was entirely different

than it ever had been. He accused me of lying about the reasons why the (now) Archbishop of

the Greek Orthodox Archdiocese of America, rather than Metropolitan Methodios, had ordained

me. At the time, I had no idea why the reporter suddenly and erroneously believed my

ordination as a Greek Orthodox Priest had not transpired as I had truthfully explained. As set

forth below, it later became clear to me that the reporter’s source for this false information was

Fr. Barbas.

            37.      On October 28, 2015, the Wall Street Journal ran a negative article about me,

entitled “Hedge-Fund Priest: Thou Shalt Make Money.” A true and accurate copy of this article

is attached hereto as Exhibit L. The article contained many factual misrepresentations and

distortions. I believe Fr. Barbas’ false statements to the Wall Street Journal were the cause of the

negative and defamatory tenor of the article.11 Specifically, Fr. Barbas was quoted in the article

as follows: “‘He doesn’t belong to us,’ said Chancellor Theodore Barbas of the Boston

Metropolis, which oversees the faith in New England. Mr. Barbas said he has at times allowed



11
     This article had a severe impact on my vocation both as a priest and as a professional in the finance industry.

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Mr. Lemelson to fill in temporarily at New England churches that don’t have a full-time priest.”

See Exhibit L. As set forth in Exhibit G, however, I turned down the invitation to become a full-

time priest for the Metropolis of Boston, explaining to the Greek Orthodox Archbishop of

America, “Love and care for the communities and individuals that have had the privilege of

serving—but have come to accept that this is how it is going to be, and how it was meant to be

(not a parish priest, not belonging in any one place).”

        38.      Fr. Barbas’ false and misleading statements to the Wall Street Journal were made

notwithstanding the multitude of requests he made, set forth above, that I serve various parishes

on behalf of the Metropolis of Boston, as well as the explicit request by his superior that I take a

full-time position in the Metropolis. See Exhibits G & I.

   c.         Fr. Barbas Made False and Defamatory Statements About Me Within the
              Church.

        39.      In addition, on November 7, 2015, after the publication of the Wall Street Journal

article, Fr. Barbas sent an email to Joseph Truman, Parish Council President of the St. George

Greek Orthodox Church in Keene, New Hampshire, where I had regularly been serving over the

previous months. A true and accurate copy of the email is attached hereto as Exhibit M. That

email included the following in which Fr. Barbas falsely told Mr. Truman that:

                 a. “Fr. Lemelson is NOT a priest of the Greek Orthodox Archdiocese of
                    America nor of the Metropolis of Boston. He belongs to the Metropolis of
                    Switzerland and therefore was never a candidate for assignment to any parish
                    here in America. The Metropolitan allowed him to fill in at parishes where
                    there was a need, but only on a temporary basis.” (Emphasis in original).

                 b. “On behalf of the Metropolitan I ask that you immediately remove all links,
                    videos, and references to Fr. Lemelson and to the media attention is has
                    sought (sic).”

                 c. “We request that this information and all references to Fr. Lemelson be
                    immediately removed from both the parish website and the parish
                    publications.”


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       40.     I understand that at Fr. Barbas’ instruction, Mr. Truman read Fr. Barbas’ false and

defamatory letter to St. George’s parish council – which the Court can see was slanderous.

       41.     That is, Fr. Barbas made these false statements despite knowing that, as set forth

above, (i) I had been ordained by the (now) Greek Orthodox Archbishop of America, and (ii) in

June 2015, Metropolitan Methodios of the Greek Orthodox Metropolis of Boston requested that I

accept a full-time position serving the Metropolis of Boston, which I respectfully declined. See

Exhibit G.

D.     The Demand Letter Contained Nine Factually Accurate Statements and Was
       Appropriate Under the Circumstances.

       a.      I Called for Fr. Barbas’ Removal Based on his Complicity in a Church
               Sexual Abuse Scandal.

       42.     I understand from the hearing on March 18, 2020, that the Court was troubled by

my counsel’s “hardball” demand letter to a member of the clergy. As a member of the clergy

myself, I respectfully submit that someone who repeatedly makes false and defamatory

statements against another individual over a four-and-a-half-year period, as Fr. Barbas has done,

should not be able to hide behind the cloth as a defense.

       43.     Moreover, Fr. Barbas is no stranger to being sued—both by those within and

those outside the church. I believe one such suit has a direct bearing (i.e., retaliation) on why, in

2019—years after Fr. Barbas began making defamatory statements about me—Fr. Barbas made

material misrepresentations to the SEC about my religious affiliation, despite his having no

legitimate involvement in this proceeding whatsoever.

       44.     In March 2015, Fr. Adam Metropoulos, a Greek Orthodox Priest in Bangor,

Maine within the Greek Orthodox Metropolis of Boston, was sentenced to 12 years in prison for

sexually abusing an altar boy.



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       45.     In 2016, the victim of the sexual abuse sued Fr. Barbas personally for his alleged

complicity.

       46.     In October 2016, the Survivors Network of those Abused by Priests (“SNAP”)

publicly called for the removal of Fr. Barbas who, according to SNAP, was responsible for the

oversight of Metropoulos. In that press release, the director of SNAP wrote, “Barbas was almost

certainly complicit or at least grossly negligent in this and potentially other sexual abuse cases.”

True and accurate copies of newspaper articles from The Boston Globe and The Bangor Daily

News discussing the press release, dated October 12, 2016 and October 14, 2016, respectively,

are attached hereto as Exhibit N.

       47.     SNAP also quoted the victim’s attorney who singled-out Fr. Barbas for his

alleged complicity in the tragic incident: “As we’ve investigated this case, we’ve encountered

repeated and disturbing evidence that the public record of credible allegations of sexual

misconduct with children, including a 1983 pedophilia charge, against Metropoulos almost

certainly was available to the chancellor [Barbas].” Further, “[a]s the chancellor directly

responsible for Metropoulos, Barbas had the ethical duty to ensure that this priest, who also was

appointed to the Boston Diocese Camp, where he was granted unmitigated and unsupervised

access to children, was not a predator. Barbas failed categorically in this capacity, resulting in

lifelong physical, psychological and spiritual damage to this child victim.” See Exhibit N.

       48.     Given what I knew about the tragic and heart-wrenching situation, I felt ethically

compelled to contribute to SNAP’s press release calling for Fr. Barbas’ removal based on his

role in the sexual abuse scandal. The Boston Globe article referenced above and attached as

Exhibit N, included the following: “‘Chancellor [Barbas] must be promptly removed to maintain

the integrity of the church,’ said Rev. Father Emmanuel Lemelson, a Greek Orthodox priest and



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president of the Lantern Foundation12 in the statement. Lemelson said that ‘this horrific incident

points to some serious deficiencies in the procedures and protocols used for the oversight of

clergy, and those deficiencies require our urgent attention.’”

         49.      In addition, the Metropolis of Boston, of which Fr. Barbas is the Chancellor, is

currently embroiled in litigation brought by another of its priests stemming from that priest’s

removal from his parish. See Rev. Fr. Nicholas Kastanas v. Greek Orthodox Metropolis of

Boston, Inc., No. 17-2312-L2 (Middlesex Superior Court). After his removal, Fr. Kastanas sued

the Metropolis of Boston for wrongfully retaining his personal belongings. On December 16,

2019, the Middlesex Superior Court (Krupp, J.) dismissed the Metropolis of Boston’s First

Amended Counterclaim against Fr. Kastanas. As far as I am aware, Fr. Kastanas’ lawsuit against

the Metropolis remains ongoing.13

         b.       Fr. Barbas Ignored My Previous Attempts to Address His False and
                  Defamatory Statements About Me.

         50.      On December 7, 2015, I wrote and emailed a letter to Fr. Barbas about his false

and defamatory statements to the Wall Street Journal and Mr. Truman, discussed above. A true

and accurate copy of this letter is attached hereto as Exhibit O. Among other things, I wrote, in

part:

                  a. “I was surprised and disappointed to read your quote in the Wall Street
                     Journal that has caused controversy and significant harm. I am also writing to
                     you to have you explain what exactly your full quote was to the reporter.”


12
  Archbishop Lambriniadis sits on the Board of Advisors of The Lantern Foundation. I formed The Lantern
Foundation in 2012, the first of its kind charitable foundation established in the United States to assist the
Ecumenical Patriarchate, at the request of Archbishop Lambriniadis. See http://phanarion.org/.
13
  Moreover, the Metropolis of Boston and Fr. Barbas have been involved in a string of high-profile controversies
and scandals involving parishes and priests. See, e.g., https://www.thenationalherald.com/5864/methodios-bars-
sacraments-at-st-georges/; https://www.thenationalherald.com/170688/arlington-ma-parish-devastated-over-priests-
removal-boos-methodios/; and https://www.ipetitions.com/petition/methodios-barbas-dictatorial-regime-needs-to-
end.


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                 b. “I would like to discuss your retraction and clarification of a number of
                    misstatements made by you.”

                 c. “In your role as Chancellor of Greek Orthodox Metropolis of Boston you are
                    in the unique position to influence the reputation of priests. Unfortunately,
                    your apparent misstatements noted above have done so in a significantly
                    negative and harmful manner. I would like you to immediately cure and
                    clarify your statements regarding my service to the metropolis.”

        51.      Fr. Barbas did not respond to my December 7, 2015 letter.14 Accordingly, I wrote

to him again on December 12, 2015, stating: “Fr. Ted, It is important that you respond to the

attached letter per the email below sent to you on December 7, 2015.” A true and accurate copy

of this email is attached hereto as Exhibit P. Fr. Barbas never responded to either of these

communications or otherwise tried to explain why he made repeated false and defamatory

statements about me.

        c.       The SEC Made Clear that Fr. Barbas Was Not a Potential Witness in This
                 Matter.

        52.      In its Opposition to Defendants’ motion to compel documents from the Greek

Orthodox Metropolis of Boston (ECF No. 64), the SEC took the position that the information Fr.

Barbas provided to it was irrelevant to the case, and any dispute between Fr. Barbas and me

concerning my religious affiliation should be sorted out in a different forum. See id. In addition,

Fr. Barbas specifically denied making certain of the statements the SEC attributed to him, and

outright accused the SEC of being “misleading” in doing so. See Exhibit H (emphasis added).

Given the SEC’s stated, written position, it became clear that Fr. Barbas was not—and could

never be—a potential witness in this matter. Accordingly, with my authorization, my counsel

sent the demand letter to Fr. Barbas’ counsel. Notably, I understand that my counsel did so in

direct response to Fr. Barbas’ counsel’s express request for a written demand after a telephone


14
  I copied several other members of the Greek Orthodox Clergy of the Metropolis of Boston, as well as Bishop Ilia,
on my letter to Fr. Barbas.

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conversation concerning potential resolution of the dispute. A copy of my counsel’s demand

letter sent to Fr. Barbas’ counsel is attached hereto as Exhibit Q.

       53.     As set forth above and in the accompanying exhibits, every one of the nine

assertions in my counsel’s demand letter was true and, I am confident, known to Fr. Barbas.

Because this was not the first (or even second) time Fr. Barbas lied about my religious affiliation

and related matters, and because after four and one-half years, I have every reason to believe it

will not be the last, as well as the fact that Fr. Barbas was unresponsive to my previous, more

gentle, efforts, I decided that I would either (i) get Fr. Barbas to commit in writing to the truth so

as to prevent further defamation; or (ii) sue him for defamation for the significant harm he has

caused me both within and outside the Greek Orthodox Church. The purpose of my counsel’s

letter was to attempt to stop the continued, recalcitrant defamation and secure the truth without

the need to bring litigation against Fr. Barbas. It appears that attempt failed, and I have no

choice but to sue Fr. Barbas in separate litigation to protect my reputation and to recover the

senseless costs I incurred associated with compelling him to comply with a lawful subpoena.

While the motivations for Fr. Barbas’ four- and one-half-year defamatory campaign are unclear,

what is certain is that he will not stop unless forced to do so through litigation—where he can

explain to a court why he believes he is above the law.




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Signed under the penalties of perjury, this 30th day of March 2020.



                                            ___________________
                                            Rev. Fr. Emmanuel Lemelson
                                             Emmanuel                 Digitally signed by Emmanuel
                                                                      Lemelson
                                             Lemelson                 Date: 2020.03.30 11:45:55 -04'00'




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